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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MUBARAK ALEXANDER,                                   :
    Plaintiff,                                       :       CIVIL ACTION
                                                     :
           v.                                        :       NO. 21-CV-4633-KSM
                                                     :
BUCKS COUNTY, et al.,                                :
    Defendants.                                      :

                                                    ORDER

           AND NOW, this 2nd day of May, 2023, upon consideration of Plaintiff’s Motion for

Service by U.S. Marshals Service (Doc. No. 71) and the USM-285 forms attached to that Motion

(Doc. Nos. 71-4, 71-5, 71-6, 71-7), it is ORDERED that the motion is GRANTED. Service of

the summons (Doc. No. 57) and the First Amended Complaint (Doc. No. 56) shall be made upon

Defendants Gregory Vingless, Timothy Moran, Jacob Stark, and Alex Perez by the U.S.

Marshals Service, using the USM-285 forms attached to Plaintiff’s motion. 1 (See Doc. Nos. 71-

4, 71-5, 71-6, 71-7.)

IT IS SO ORDERED.



                                                     /s/Karen Spencer Marston
                                                     ___________________________________
                                                     KAREN SPENCER MARSTON, J.




           1
               Plaintiff’s counsel hand delivered these USM-285 forms to the U.S. Marshals Office on January
5, 2023.
